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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

DEBORAH MULLINS,

       Plaintiff,
v.                                                                SA-21-CV-00329-JKP

DPAC ACCEPTANCE, LTD.,

       Defendant,

                             SIXTY DAY DISMISSAL ORDER

       The parties informed the Court they reached a settlement (ECF Nos. 12, 13). For this

reason, the Court dismisses any and all claims by all parties related to this action WITHOUT

PREJUDICE. Should the parties be unable to execute the settlement within sixty days from the

date of this Order, any party may move for an extension of this deadline. If the parties cannot

execute a settlement, any party may move to reopen this action within the deadline imposed

herein. If the Court grants such a motion, the case will be reopened as though it had never been

closed. Unless the Court extends the deadline or a party moves to reopen the case within the

appropriate deadline, this action shall be considered DISMISSED WITH PREJUDICE. Any

pending motions are DENIED as moot without prejudice to refiling, as needed. The Clerk of

Court is DIRECTED to close this case.

       It is so ORDERED this 3rd day of November 2021.



                                    JASON PULLIAM
                                    UNITED STATES DISTRICT JUDGE
